    Case 2:15-cv-05346-CJC-E Document 469-35 Filed 12/10/20 Page 1 of 2 Page ID
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                           #:33170




                          Exhibit 2-P
           Evidence Packet in Support of Defendant’s Motions for Summary Judgment



              U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                         Exhibit 2P
                                                         White Decl. ISO Disney's SJ Motion P.0848
                                                                                                                             Case 2:15-cv-05346-CJC-E Document 469-35 Filed 12/10/20 Page 2 of 2 Page ID
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                                                                                                                                                 #:33171




            Victor Bradley           Updated 11-25-2019

           Admission Data
                                                                                                                      ADMISSION ITEM     ADMISSION ITEM         ADMISSION ITEM
            PARTY CODE               SURROGATE GATE ID     ATS GATE CODE        ATS GATE ID           GATE NAME
                                                                                                                        USAGE DATE       USAGE TYPE CODE       USAGE TYPE NAME
  CAFEF00D650200000000000374691001           42               WAKMG                  21             AK - MAIN GATE        2-Apr-19              0                   Access
  CAFEF00D650200000000000374691001           31               WMKMG                   5             MK - MAIN GATE        3-Apr-19              0                   Access
  CAFEF00D650200000000000374691001           31               WMKMG                   5             MK - MAIN GATE        3-Apr-19              0                   Access
  CAFEF00D650200000000000374691001           31               WMKMG                   5             MK - MAIN GATE        3-Apr-19              0                   Access


           DAS Enrollment
           EXPERIENCE ID              Guest Last Name     Guest First Name   srrgt_pgm_enroll_id      srrgt_pgm_id      srrgt_pty_id     pgm_enroll_strt_dts     pgm_strt_dts      pgm_end_dts       pgm_enroll_own_in        ifnt_in        media_opt_out_in                pgm_id                  srrgt_term_and_cndtn_id    max_exprnc_cn
  CAFEF00D650200000000000374691001        Bradley              Victor             3,679,126            1,187,552        788,938,920           4/2/2019                 ?                 ?                  Y                   N                   N                           ?                               ?                      ?
  CAFEF00D650200000000000374691001        Bradley              Victor             3,681,332            1,187,518        788,938,920           4/2/2019             4/2/2019          6/2/2019               N                   N                   N                        718,538                         10,005                    4


           FastPass Usage
                                     GXP ENTITLEMENT      ENTITLEMENT TYPE                         ENTITLEMENT START ENTITLEMENT START   ENTITLEMENT END       ENTITLEMENT END     ENTITLEMENT         ENTITLEMENT         ENTITLEMENT       ENTITLEMENT RSN
            PARTY CODE                                                         STS TYPE CODE                                                                                                                                                                        ENTERTAINMENT NAME
                                          CODE                  CODE                                      DATE              TIME               DATE                  TIME        ACTIVITY RSN CODE   ACTIVITY RSN DATE   ACTIVITY RSN TIME         CODE
  CAFEF00D650200000000000374691001     1286053828                NON                RED                 4/2/2019         4:05:00 PM          4/2/2019             9:00:00 PM        2555218443            4/2/2019          4:14:40 PM              DAS              Avatar Flight of Passage
  CAFEF00D650200000000000374691001     1286053828                NON                RED                 4/2/2019         4:05:00 PM          4/2/2019             9:00:00 PM        2555211446            4/2/2019          4:10:34 PM              OVR              Avatar Flight of Passage
  CAFEF00D650200000000000374691001     1286050459                NON                CAN                 4/2/2019         4:42:00 PM          4/2/2019             9:00:00 PM        2555051058            4/2/2019          2:38:21 PM              STD              Avatar Flight of Passage
  CAFEF00D650200000000000374691001     1286013370                NON                CAN                 4/2/2019         4:42:00 PM          4/2/2019             9:00:00 PM        2554965506            4/2/2019          1:52:54 PM              DAS              Avatar Flight of Passage
  CAFEF00D650200000000000374691001     1286052278                NON                CAN                 4/2/2019         4:03:00 PM          4/2/2019             9:00:00 PM        2555051059            4/2/2019          2:38:21 PM              DAS              Avatar Flight of Passage
  CAFEF00D650200000000000374691001     1286052278                NON                CAN                 4/2/2019         4:03:00 PM          4/2/2019             9:00:00 PM        2555054373            4/2/2019          2:40:13 PM              STD              Avatar Flight of Passage
  CAFEF00D650200000000000374691001     1286053828                NON                RED                 4/2/2019         4:05:00 PM          4/2/2019             9:00:00 PM        2555054377            4/2/2019          2:40:13 PM              DAS              Avatar Flight of Passage
  CAFEF00D650200000000000374691001     1286013370                NON                CAN                 4/2/2019         4:42:00 PM          4/2/2019             9:00:00 PM        2555047323            4/2/2019          2:36:31 PM              STD              Avatar Flight of Passage
  CAFEF00D650200000000000374691001     1286050459                NON                CAN                 4/2/2019         4:42:00 PM          4/2/2019             9:00:00 PM        2555047324            4/2/2019          2:36:31 PM              DAS              Avatar Flight of Passage
                                                                                                                                                                                                                                                                Expedition Everest - Legend of the
  CAFEF00D650200000000000374691001      1285872404              NON                 CAN                 4/2/2019        11:38:00 AM           4/2/2019            9:00:00 PM        2554965502           4/2/2019           1:52:54 PM             STD
                                                                                                                                                                                                                                                                       Forbidden Mountain
                                                                                                                                                                                                                                                                Expedition Everest - Legend of the
  CAFEF00D650200000000000374691001      1285872404              NON                 CAN                 4/2/2019        11:38:00 AM           4/2/2019            9:00:00 PM        2554644175           4/2/2019           10:58:20 AM            DAS
                                                                                                                                                                                                                                                                       Forbidden Mountain
  CAFEF00D650200000000000374691001      1286367401              STD                 BKD                 4/3/2019         6:10:00 PM           4/3/2019            7:10:00 PM        2555711981           4/2/2019           11:24:17 PM            STD               Pirates of the Caribbean
  CAFEF00D650200000000000374691001      1286875215              NON                 RED                 4/3/2019         4:23:00 PM           4/4/2019           12:00:00 AM        2556694434           4/3/2019           2:59:02 PM             DAS                   Space Mountain
  CAFEF00D650200000000000374691001      1286875215              NON                 RED                 4/3/2019         4:23:00 PM           4/4/2019           12:00:00 AM        2556832500           4/3/2019           4:23:02 PM             STD                   Space Mountain
  CAFEF00D650200000000000374691001      1286366936              STD                 BKD                 4/3/2019         5:05:00 PM           4/3/2019            6:05:00 PM        2555711336           4/2/2019           11:23:02 PM            STD                  Haunted Mansion
  CAFEF00D650200000000000374691001      1286875215              NON                 RED                 4/3/2019         4:23:00 PM           4/4/2019           12:00:00 AM        2556836943           4/3/2019           4:25:51 PM             DAS                   Space Mountain
  CAFEF00D650200000000000374691001      1286955360              NON                 RED                 4/3/2019         5:40:00 PM           4/4/2019           12:00:00 AM        2556954701           4/3/2019           5:41:22 PM             DAS                   it's a small world
  CAFEF00D650200000000000374691001      1286955360              NON                 RED                 4/3/2019         5:40:00 PM           4/4/2019           12:00:00 AM        2556877041           4/3/2019           4:50:39 PM             DAS                   it's a small world
  CAFEF00D650200000000000374691001      1286365983              STD                 BKD                 4/3/2019         3:45:00 PM           4/3/2019            4:45:00 PM        2555709977           4/2/2019           11:20:13 PM            STD          Buzz Lightyear's Space Ranger Spin




CONFIDENTIAL                                                                                                                                                                                                                                                                                                                                   Exhibit 2P
                                                                                                                                                                                                                                                                                                                              DisneyCA-TP0134571
                                                                                                                                                                                                                                                                                                               White Decl. ISO Disney's SJ Motion P.0849
